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                  UNITED STATES DISTRICT COURT
                 CENTRAL DISTRICT OF CALIFORNIA



  MUÑOZ, Sandra; ASENCIO-                       Case No. 2:17-CV-00037-AS
  CORDERO, Luis Ernesto,
                           Plaintiffs,          [PROPOSED] ORDER

                           v.

  U.S. DEPARTMENT OF STATE; Mike
  POMPEO, U.S. Secretary of State; Mark
  LEONI, United States Consul General,
  San Salvador, El Salvador.
                           Defendants.


       Having considered Defendants’ Unopposed Stipulation for Extension
 of Supplemental Briefing Schedule, and finding good cause therefore, IT IS
 HEREBY ORDERED that the unopposed stipulation is GRANTED.

       The briefing schedule is hereby extended by two weeks, causing the
 Government’s deadline to file a supplemental brief to be enlarged from
 October 2, 2018 to October 16, 2018 and Plaintiffs’ deadline to be enlarged
 from October 23, 2018 to November 6, 2018.


 Date: _____________
        October 3, 2018                  ___________________________
                                                        /s/
                                         HONORABLE ALKA SAGAR
                                         United States Magistrate Judge
